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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


EDDY STANLEY HARRIS, JR.                                                       PETITIONER


VS.                            CASE NO. 4:09CV00276 SWW


LARRY NORRIS, Director of the
Arkansas Department of Correction                                              RESPONDENT


                                               ORDER



           The Court has received proposed Findings and Recommendations from Magistrate

Judge H. David Young. After careful review of those Findings and Recommendations, the

timely objections received thereto, and a de novo review of the record, the Court concludes that

the Findings and Recommendations should be, and hereby are, approved and adopted in their

entirety as this court's findings in all respects. Judgment will be entered accordingly.

         Pursuant to 28 U.S.C. § 2253 and Rule 11 of the Rules Governing Section 2554 Cases

in the United States District Court, the Court must determine whether to issue a certificate of
appealability in the final order. In § 2254 cases, a certificate of appealability may issue only if

the applicant has made a substantial showing of the denial of a constitutional right. 28 U.S.C. §

2253(c)(1)-(2). The Court finds no issue on which petitioner has made a substantial showing of a

denial of a constitutional right. Thus, the certificate of appealability is denied.

            IT IS SO ORDERED this 10th day of August, 2011.




                                                        /s/Susan Webber Wright
                                                     UNITED STATES DISTRICT JUDGE
